               Case 17-64941-sms                         Doc 44       Filed 01/29/21 Entered 01/29/21 08:30:13                                      Desc Main
                                                                     Document      Page 1 of 10
                                                                                                                   Filed in U.S. Baantptcy Court
                                                                                                                           Atlanta, Georgia
Fill in this information to identify your case and this filing:                                                       M. Regina Thomas, Clerk


Debtor 1           Roger                           Carroll                Burgess
                       Rat Name                   Middle Name               Last Name

Debtor 2
(Spouse, If filing) First Name                    Middle Name               Ladl Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number            17-64941
                                                                                                                                                El Check if this is an
                                                                                                                                                   amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    El No. Go to Part 2.
    0     Yes. Where is the property?
                                                                      What is the property? Check all that apply.
                                                                                                                                   g!.              eill)P9FleM11           .
                                                                      CI Single-family home
        1.1.                                                          •    Duplex or multi-unit building                      tkigdi*WOOW.iik.:000000i 80?:/101.40e*
               Street address, if available, or other description
                                                                      O Condominium or cooperative                          Current value of the      Current value of the
                                                                      O Manufactured or mobile home                         entire property?          portion you own?
                                                                      O Land
                                                                      O Investment property
                                                                      •    Timeshare                                        Describe the nature of your ownership
               City                            State      ZIP Code                                                          Interest (such as fee simple, tenancy by
                                                                      O Other                                               the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                      0 Debtor 1 only
               County                                                 0 Debtor 2 only
                                                                      0 Debtor 1 and Debtor 2 only                          ID Check if this is community property
                                                                                                                               (see instructions)
                                                                      0 At least one of the debtors and another
                                                                      Other Information you wish to add about this item, such as local
                                                                      property Identification number:
     If you own or have more than one, list here:
                                                                     What Is the property? Check all that apply.
                                                                                                                                         000*Pra011PF,K05PulPt!.090k ,',..
                                                                           Single-family home
        1.2.                                                         O Duplex or multi-unit building
                Street address, If available, or other description
                                                                     O Condominium or cooperative                           Current value of the      Current value of the
                                                                     O Manufactured or mobile home                          entire property?          portion you own?
                                                                     O Land
                                                                     O Investment property
                                                                                                                            Describe the nature of your ownership
                                                                     O Timeshare
                City                            State     ZIP Code                                                          Interest (such as fee simple, tenancy by
                                                                     O Other                                                the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     0 Debtor 1 only
                County                                               0 Debtor 2 only
                                                                     0 Debtor 1 and Debtor 2 only                           U Check if this is community property
                                                                     0 At least one of the debtors and another                (see Instructions)

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:



 Official Form 106A/B                                                 Schedule A/13: Property                                                                 page 1
             Case 17-64941-sms                         Doc 44           Filed 01/29/21 Entered 01/29/21 08:30:13                                            Desc Main
                                                                       Document      Page 2 of 10

  Debtor 1      Roger                            Carroll                  Burgess                           Case number (if known)    17-64941
                    First Name     Middle Name            Last Name


                                                                                                                                                .    .
                                                                      What Is the property? Check all that apply.
                                                                      U Single-family home                                         The eniornt of isitiii.*00A:14$0:01A040.40.*:
      1.3.                                                                                                                                 l'Ota*Wektriij§isocROArRoi**.i''
                                                                                                                                            : ••                            .
             Street address, If available, or other description       U Duplex or multi-unit building
                                                                                                                                   Current value of the     Current value of the
                                                                      D Condominium or cooperative                                 entire property?         portion you own?
                                                                      D Manufactured or mobile home
                                                                      0 Land
                                                                           Investment property
                                                                                                                                   Describe the nature of your ownership
             City                            State     ZIP Code       U    Timeshare
                                                                                                                                   interest (such as fee simple, tenancy by
                                                                      D    Other                                                   the entireties, or a life estate), If known.

                                                                      Who has an Interest in the property? Check one.
                                                                      GI Debtor 1 only
             County
                                                                      0 Debtor 2 only
                                                                           Debtor 1 and Debtor 2 only                              D Check If this is community property
                                                                                                                                       (see instructions)
                                                                      ID At least one of the debtors and another
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:



s 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                        0.00
     you have attached for Part 1. Write that number here.                                                                                           4




On             Describe Your Vehicles



  Do you own, lease, or have legal or equitable Interest In any vehicles, whether they are registered or not? Include any vehicles
; you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

' 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
         No
     0 Yes
                                                                      Who has an interest In the property? Check one.                                 .41!!!Tqg6.40p.tiofg0i.4.
      3,1,   Make:
                                                                      D Debtor 1 only                                         !.:40,Attki0t0AtiV),0:40:44:40100]Oh!.SCheVii/e'Di.
             Model:
                                                                      0 Debtor 2 only
             Year:                                                                                                                  Current value of the     Current value of the
                                                                      0 Debtor 1 and Debtor 2 only                                  entire property?         portion you own?
             Approximate mileage:                                     0 At least one of the debtors and another
              Other information:
                                                                       L3 Check If this is community property (see
                                                                           Instructions)



     If you own or have more than one, describe here:
                                                                                                                                               :; •                . : S:
             Make:                                                     Who has an interest in the property? Check one.             ' 06 not 90440POOPet#0100.ikX600010.0.:Ptiti;
      3.2.
                                                                                                                                     the amount or any setired Ims on Schedule D:
                                                                            Debtor 1 only                                            Creditor Who HaeVIeithsiSuredbyPrOpetiI
             Model:                                                                                                            -

                                                                       0 Debtor 2 only
             Year:                                                                                                                  Current value of the     Current value of the
                                                                       LI Debtor 1 and Debtor 2 only                                entire property?         portion you own?
             Approximate mileage:                                      1:1 At least one of the debtors and another
              Other information:
                                                                       L:1 Check if this is community property (see
                                                                            instructions)




   Official Form 106A/B                                                   Schedule A/B: Property                                                                    page 2
             Case 17-64941-sms                      Doc 44          Filed 01/29/21 Entered 01/29/21 08:30:13                                      Desc Main
                                                                   Document      Page 3 of 10
  Debtor 1      Roger                           Carroll             Burgess                            Case number urrmown) 17-64941
                 FIrst Name       Middle Name         Leet Name




     3,3, Make:                                                   Who has an Interest in the property? Check one.        Pc not • 8u4SC.
                                                                                                                         the amountof any   ," • !darns
             Model:                                               0 Debtor 1 only                                        CreditorsWho Havaso                       Rope
                                                                  0 Debtor 2 only
             Year:                                                                                                       Current value of the        Current value of the
                                                                  0 Debtor 1 and Debtor 2 only
                                                                                                                         entire property?            portion you own?
             Approximate mileage:                                 O At least one of the debtors and another
             Other information:
                                                                     Check if this is community property (see
                                                                     instructions)


     3.4. Make:                                                   Who has an interest in the property? Check one.        Do
                                                                                                                          . not deduct:s•0000.001rfis,10r,OreiriPtiO*P4.:
                                                                                                                         the amount ol.any secured dálns on--Schej.iule b:
             Model:                                               LI Debtor 1 only                                   -

                                                                                                                                                                                •
                                                                     Debtor 2 only
             Year:                                                                                                       Current value of the        Current value of the
                                                                  0 Debtor 1 and Debtor 2 only
                                                                                                                         entire property?            portion you own?
             Approximate mileage:                                 LI At least one of the debtors and another
             Other Information:
                                                                     Check if this is community property (see
                                                                     instructions)




 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
     El No
     lj Yes

                                                                  Who has an interest in the property? Check one.
     4.1. Make:
                                                                                                                         the:40,4.0eit9fAny;.40.0.61.00.*Of
             Model:                                               CI Debtor 1 only
                                                                  U Debtor 2 only
             Year:
                                                                  0 Debtor 1 and Debtor 2 only                           Current value of the        Current value of the
             Other information:                                   D At least one of the debtors and another              entire property?            portion you own?

                                                                  U Check If this Is community property (see
                                                                    instructions)



     If you own or have more than one, list here:

     4.2. Make:                                                   Who has an Interest In the property? Check one.        Do optpoogot sPgF00100!frg.(9r1i0).*1110.10.1*POtE,';:;
                                                                  D Debtor 1 only                                    ..:J00#1.11Pci. tit Of any;f.0.44.4141:00**.0..W.:100,00P:F:
             Model:                                                                                                      winos: Who Have Claims Secured
                                                                  0 Debtor 2 only
             Year:                                                                                                       Current value of the        Current value of the
                                                                     Debtor 1 and Debtor 2 only
                                                                                                                         entire property?            portion you own?
             Other Information:                                      At least one of the debtors and another

                                                                     Check if this Is community property (see
                                                                     Instructions)




; 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                   0.00
     you have attached for Part 2. Write that number here




  Official Form 106A/B                                             Schedule A/B: Property                                                                     page 3
             Case 17-64941-sms                          Doc 44        Filed 01/29/21 Entered 01/29/21 08:30:13                             Desc Main
                                                                     Document      Page 4 of 10
  Debtor 1      Roger                             Carroll             Burgess                    Case number "flown)   17-64941
                 First Name       Middle Name            Last Name




 Part 3:      Describe Your Personal and Household Items

                                                                                                                                   Cun'ent value of the
 Do ou own or have:-anyllega(OrileOltableMtereatiifianYififithe
   .                     .    .   . .•    . , •     .    .                                                                                   •••• own?
                                                                                                                                   porfion you       • •. : • .
                                                                                                                                   Do not cledUbtsecured.clainit
                                                                                                                                   Or exemptions.
 6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
       CI No
       I0 Yes. Describe           WASHER/DRYER COMBO, REFIRGEARTOR, KITCHENWARE, FURNITURE                                        I    $            1,500.00

 7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including cell phones, cameras, media players, games
         No
       0 Yes, Describe            L   ED 32 TV, CPU & PRINTER, STERO &SPEAKERS                                                    Js                   500.00

 a. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    O No
    D Yes, Describe                                                                                                                                        0.00

 9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
              and kayaks; carpentry tools; musical instruments
       RINo
       U Yes. Describe                                                                                                                                     0,00

 10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       ia No
       O Yes, Describe                                                                                                                                     0.00
                                                                                                                                       $
 11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     U N
     O Yes, Describe       [ EVERYDAY WEAR NO DESINGER ITEMS                                                                                           350.00


' 12. Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                gold, silver
       CI No
       ia Yes. Describe.                                                                                                                                45.00 ;
                                         DIGITAL WATCH                                                                            Is
 13. Non-farm animals
     Examples: Dogs, cats, birds, horses
       O No
       O Yes. Describe                                                                                                                                     0.00
                                                                                                                                       $

 14. Any other personal and household Items you did not already list, Including any health aids you did not list

       Cl No
       • Yes. Give specific                                                                                                                         3,000.00
          Information.            rINSULIN PUMP                                                                                        $
 16. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached                                      5,395.00
     for Part 3. Write that number here                                                                                       4


  Official Form 106A/B                                               Schedule NB: Property                                                        page 4
              Case 17-64941-sms                  Doc 44          Filed 01/29/21 Entered 01/29/21 08:30:13                                 Desc Main
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   Debtor.'      Roger                       Carroll             Burgess                                              -
                                                                                                Case number urknowto 1764941
                  First Name   Middle Name          Last Name



  Part 4:       Describe Your Financial Assets

   . .
! Do YOkr.iiirn or haVe:a6.teiak.6r:equAittilelilti.ireA:(ii*iy:'Of0.erf.ollo*ingv.                                                    gOrK.100'141i3 i0fPfi
                                                                 .            ... •   • .•
                                                                                                                                       pciitiOnYcia:trivnT
                                                                                                                                       Do net:didUcr.secured
                                                                                                                                                  . .        Claire;
                                                                                                                                      .orexernptions.

  16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     O No
     El Yes                                                                                                    Cash:                                      20.00


, 17. Deposits of money
;     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                and other similar institutions. If you have multiple accounts with the same institution, list each.
       No
     O Yes                                                      Institution name:


                               17.1. Checking account:

                               17.2. Checking account:

                               17.3. Savings account:

                               17.4. Savings account:

                               17.5. Certificates of deposit:

                               17.6. Other financial account:

                               17.7. Other financial account:

                               17.6. Other financial account:

                               17.9. Other financial account:




  18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     El   No
     CI   Yes                  Institution or issuer name:




, 19. Non-publicly traded stock and Interests In incorporated and unincorporated businesses, including an interest in
      an LLC, partnership, and joint venture
     ▪     No                  Name of entity:                                                                % of ownership:
     0    Yes. Give specific                                                                                   0%
          information about
          them                                                                                                 0°A)
                                                                                                               0%




  Official Form 106A/B                                          Schedule A/B: Property                                                               page 5
            Case 17-64941-sms                        Doc 44          Filed 01/29/21 Entered 01/29/21 08:30:13                                 Desc Main
                                                                    Document      Page 6 of 10
     Debtor 1    Roger                            Carroll            Burgess                       Case number unmowiT) 17-64941
                   First Name       Middle Name         Lael Name




    48. Crops—either growing or harvested
       U No
       0 Yes. Give specific
         information.
                                       -----------
' 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      U No
      U Yes



    50. Farm and fishing supplies, chemicals, and feed
       O No
       O Yes




     .
    51.Any farm- and commercial fishing-related property you did not already list
       • No
          Yes. Give specific
          Information.
                                L
    52. Add the dollar value of all of your entries from Part 6, Including any entries for pages you have attached                                        0.00
        for Part 6. Write that number here



                Describe All Property You Own or Have an Interest in That You Did Not List Above

    53. Do you have other property of any kind you did not already list?
•       Examples: Season tickets, country club membership

       id No
       O Yes. Give specific
          Information.




    54. Add the dollar value of all of your entries from Part 7. Write that number here                                           4                     0.00


0:121           List the Totals of Each Part of this Form

                                                                                                                                        I             0.00
    55.Part 1: Total real estate, line 2                                                                                              4 t $
    56.Part 2: Total vehicles, line 5                                                          0.00

    57.Part 3: Total personal and household items, line 15                                  5,395.00

    58.Part 4: Total financial assets, line 36                                         48,796.25

    59.Part 5: Total business-related property, line 45                                        0.00

    60.Part 6: Total farm- and fishing-related property, line 52                               0.00

    61.Part 7: Total other property not listed, line 54                           $            0.00

    62.Total personal property. Add lines 56 through 61.                               55,215.70       Copy personal property total     11+$      55,215.70
                                                                              1   $

    63.Total of all property on Schedule NB. Add line 55 + line 62                                                                                55,215.70


    Official Form 106AJB                                            Schedule NB: Property                                                          page 10
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  Debtor 1     Roger                         Carroll            Burgess                      Case number (irknown) 17-64941
                First Name     Middle Name         Let Name




  48. Crops—either growing or harvested
     O No
     • Yes. Give specific
       information.

  49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      O No
      • Yes



  50. Farm and fishing supplies, chemicals, and feed
     LI No
     O Yes



  51.Any farm- and commercial fishing-related property you did not already list
     O No
     CIYes. Give specific [
       information.

 62. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                    0.00
     for Part 6. Write that number here                                                                                     4


 Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above

, 53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership

     El No
     CI Yes. Give specific
        Information




 64.Add the dollar value of all of your entries from Part 7. Write that number here                                                           0.00


 Part 8:      List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2                                                                                                      0.00

 56.Part 2: Total vehicles, line 5                                                       0.00

 57.Part 3: Total personal and household items, line 15                               5,395.00

 58, Part 4: Total financial assets, line 36                                     48,796.25

 59. Part 5: Total business-related property, line 45                                    0.00

 so. Part 6: Total farm- and fishing-related property, line 62                           0.00

 61.Part 7: Total other property not listed, line 54                                     0.00

 62.Total personal property. Add lines 56 through 61.                            55,215.70       Copy personal property total 4         55,215.70
                                                                                                                                  + $



 63.Total of all property on Schedule NB. Add line 55 + line 62                                                                         55,215.70


  Official Form 106A/8                                        Schedule NB: Property                                                      page 10
          Case 17-64941-sms                    Doc 44              Filed 01/29/21 Entered 01/29/21 08:30:13                                Desc Main
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 Fill in this information to identify your case:

  Debtor 1          ROGER                  CARROLL                 BURGESS
                      Rat Name              Middle Name                    LW Name

  Debtor 2
  (Spouse, if filing) First Name            Middle Name                    Last Name


  United States Bankruptcy Court for the:Northern District of Georgia

  Case number         17-64941                                                                                                               Cheek if this is an
  (It known)
                                                                                                                                             amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                           04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, Ilst the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax.exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


  Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even If your spouse Is filing with you.
      Er You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 622(b)(3)
      0 You are claiming federal exemptions. 11 U.S.C. § 622(b)(2)

 2, For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the propertyand.line on       ..   Current value of the    Amount of'the exemption•you         .
       Schedule A/B that lists this property                   portion you own
                                                           , •.copyi.the',oloo4iorry..,..,. Check only one boforeah exemption.
                                                                                                                     ..
                                                                                          ...

      Brief
                               HOUSEHOLD ITEMS                 $1,500.00                  $ 1,500.00
                                                                                                                                 44-13-100(a)(4)
      description:
      Line from                                                                        U 100% of fair market value, up to
      Schedule NB:             5                                                          any applicable statutory limit

      Brief
                              ELECTRONICS                      $500.00                 kJ $ 500.00
                                                                                                                                 44-13-100(a)(4)
      description:
      Line from                                                                           100% of fair market value, up to
      Schedule A/B:                                                                       any applicable statutory limit

      Brief
                               CLOTHES                         $350.00                    $ 350.00                               44-13-100(a)(4)
      description:
      Line from                                                                        U 100% of fair market value, up to
      Schedule NB             11_                                                        any applicable statutory limit


• 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      Er No
         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           U      No
                  Yes



Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                        page 1 of Z
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Debtor 1       ROGER                          CARROLL         BURGESS                              Case number (if knoWn) 17-64941
              First Name        Middle Name       Last Name




 Part 2:     Additional Page

    • •Etrief'deScriPtibn of:the: Or4Pett*end:Illne                                 Amount              F40.                          Specific law thai allow exemptlôi
      on Schedule M3 that lists this property             pprtion:yoU mivn      '
                                                          Copy the value from       Check only one box for each exeh,ptiOn
                                                          Schedule A/B

     Brief                                                                                                                       44-13-100(a)(4)
                           JEWERLY                                       45.00          $        45.00
     description:
     Line from             12                                                       0 100% of fair market value, up to
     Schedule NB:                                                                     any applicable statutory limit

     Brief                                                                                                                       44-13-100(a)(2.1)(A)
     description:          RETIREMENT                                      4.45         $          4.45                          47-2-332
     Line from                                                                          100% of fair market value, up to         18-4-22
                           21                                                           any applicable statutory limit
     Schedule A/B:
      ... .
     Brief                                                                                                                       44-13-100(a)(1) UNUSED
                           SECURITY DEPOSIl                          1,000.00        Er $     1,000.00                           PORTION
     description:
     Line from                                                                          100% of fair market value, up to
                           22                                                           any applicable statutory limit
     Schedule NB:

     Brief                                                                                                                       44*-12-100(a)(10)
                           INSULIN PUMP                              3,000.00       Ef $     3,000.00
     description:
     Line from             14                                                           100% of fair market value, up to
     Schedule NB:                                                                       any applicable statutory limit

     Brief                                                                                                                       44-13-100(a)(2)(D)
                           LAWSUIT SETTLED                $        48,796.25        U$                                           44-13-100(a)(6)
     description:
      Line from                                                                     le 100% of fair market value, up to          44-13-1
      Schedule A/B:                                                                     any applicable statutory limit

      Brief
      description:                                                                  Us
      Line from                                                                      100% of fair market value, up to
      Schedule NB: -                                                                 any applicable statutory limit

      Brief
      description:                                                                      $
      Line from                                                                         100% of fair market value, up to
      Schedule A/B:                                                                     any applicable statutory limit

      Brief
      description:                                                                      $
      Line from                                                                         100% of fair market value, up to
      Schedule A/B:                                                                     any applicable statutory limit
                                                                                                                   .     -••   ....

      Brief
      description:                                                                  Us
      Line from                                                                         100% of fair market value, up to
      Schedule NB:                                                                      any applicable statutory limit

      Brief
      description:
      Line from                                                                     LI 100% of fair market value, up to
      Schedule NB:                                                                     any applicable statutory limit

      Brief
      description:                                                                      $
      Line from                                                                     D 100% of fair market value, up to
      Schedule M3:                                                                      any applicable statutory limit


      Brief
      description:                                                                     $
      Line from                                                                      0 100% of fair market value, up to
      Schedule NB:                                                                     any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                   page .L   . of 7.
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                                 UNITED STATES BANKRUPTCY COURT

                                  NORTHERN DISTRICT OF GEORGIA

                                           ATLANTA DIVISION


IN RE:   Roger Carroll Burgess                     Case No:    17-64941

                                                   Chapter      7


               Debtor(s)

                                           CERTIFICATE OF SERVICE



  I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the 29 day of January  , 2021 I served a copy of
ammened schedules to reflect defecinies unknown at tine of filing.
which was filed in this bankruptcy matter on th       day qf




Mode of service (check one):              ®MAILED                    0   HAND DELIVERED

Name and Address of each party served (If necessary, you may attach a list.):
Office of the United States Trustee                      S. Gregory Hays
362 Richard B. Russell Building                          Hays Financial Consulting, LLC
75 Ted Turner Drive, S.W.                                Suite 555
Atlanta, Georgia 30303                                   2964 Peachtree Road
                                                         Atlanta, GA 30305

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND C


Dated:                                             Signature:

                                                   Printed Namec Rtsger Burgess

                                                   Address: 2612 Leland Drive
                                                            Augusta, GA 30909




                                                   Phone: 4048090288

(Generic Certificate of Service — Revised 4/13)
